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                    Exhibit C
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


  GENERAL MOTORS LLC,
  GENERAL MOTORS COMPANY,                       No. 19-cv-13429

                     Plaintiffs,                Honorable Paul D. Borman
        against                                 District Court Judge

  FCA US LLC, FIAT CHRYSLER                     Honorable David R. Grand
  AUTOMOBILES N.V., ALPHONS                     Magistrate Judge
  IACOBELLI, JEROME DURDEN,
  MICHAEL BROWN,

                     Defendants.



                  DECLARATION OF JEFFREY L. WILLIAN

 I, Jeffrey L. Willian, hereby declare as follows:

       1.     I am a partner at the law firm of Kirkland & Ellis LLP. I am an attorney

 licensed to practice in the State of Illinois and have been admitted to this Court.

       2.     I represent plaintiffs General Motors LLC and General Motors

 Company (collectively, “GM”) in the above-captioned case and have been working

 on this matter since the summer of 2019.

       3.     GM’s investigation into the facts underlying its original Complaint and

 proposed First Amended Complaint has been led by and conducted through

 attorneys at Kirkland & Ellis LLP, including myself, Hariklia Karis, and others. The
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 investigation in support of GM’s RICO action continues but, in light of the Court’s

 recent ruling, GM believes it must now allege new facts that it has recently

 discovered concerning the existence of foreign accounts that have apparently been

 used to further the schemes identified in GM’s original Complaint.

       4.     These new facts were discovered through the use of third-party

 investigators with the assistance and guidance of counsel. GM has invoked and will

 continue to invoke the work product doctrine, attorney client privilege, and other

 applicable protections as to all aspects of its counsel’s work on this matter, including

 as to all investigators, agents, and consultants. The below is intended to describe at

 a high-level, without waiving any applicable privileges or protections, all of which

 are expressly reserved, when GM acquired sufficient information regarding the

 scope, breadth, and apparent use of the foreign accounts alleged in GM’s proposed

 First Amended Complaint and why that information was not previously pled.

       5.     Prior to filing its Complaint in November 2019, GM’s investigation

 into the facts underlying its allegations was extensive. The investigation included

 witness interviews, review of relevant publicly available information regarding

 criminal developments, close monitoring of the criminal proceedings against

 Defendants and their co-conspirators, review and analysis of internal GM documents

 and communications, the engagement of consultants, and in-depth analysis of
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 collective bargaining negotiations and related agreements among GM, FCA, and the

 UAW since 2009. GM’s investigation has continued through today.

         6.     When GM filed its Complaint on November 20, 2019, and until

 recently, there was no indication that Defendants FCA US LLC (“FCA”) and Fiat

 Chrysler Automobiles N.V. (“FCA NV”) used offshore bank accounts to further

 their unlawful scheme. There is no public reference to any such offshore bank

 accounts in the criminal proceedings.

         7.     After the Court precluded GM from obtaining discovery from

 Defendants and relevant third parties, and as FCA continued to disavow any

 involvement in the bribery scheme while at the same time disclosing in its public

 filings that it has “engaged in discussions with the DOJ about a potential resolution

 of its investigation” arising from the fact that “[s]everal of the individual defendants

 have entered guilty pleas and some have claimed in connection with those pleas

 that they conspired with FCA US in violation of the Taft-Hartley Act”,1 through

 counsel, GM focused its review on FCA N.V.’s and its successor’s histories and

 governance, including alleged past but related illicit activities and unlawful conduct.

 GM came to learn through its investigation that Fiat and its executives had been

 involved in what certain publications referred to as “Kickback City,” where Fiat



 1
     See Semi-Annual Report of Fiat Chrysler Automobiles, at 70 (July 31, 2020).
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 S.p.A. apparently used certain foreign accounts to illicitly pay politicians to obtain

 commercial contracts.

       8.     In mid-April 2020, after formal discovery was denied and as part of its

 ongoing investigation, GM, through outside counsel, retained and began working

 with third party investigators to assist in GM’s investigation. Certain of these third

 parties, all of whom have significant credentials supporting their investigative

 expertise, recently discovered reliable information indicating the existence of

 foreign accounts potentially connected to the scheme alleged in GM’s Complaint, as

 described below.

       9.     In the meantime, on May 26, 2020, the Court set an oral argument date

 on Defendants’ motions to dismiss. The oral argument was held on June 23, 2020.

 After oral argument, the Court issued a ruling that resulted in GM filing an

 Emergency Petition for Writ of Mandamus on June 27, 2020. The Sixth Circuit

 subsequently stayed this Court’s June 23, 2020 order and granted GM’s writ on July

 6, 2020. Two days later, on July 8, 2020, the Court issued its decision granting

 Defendants’ motions to dismiss with prejudice.

       10.    Only recently did GM’s investigation uncover reliable information

 concerning the scope and breadth of relevant individuals with foreign accounts.

 Specifically, only in the last 10 days did we obtain sufficiently reliable information
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 to allege in a public filing as stated in the First Amended Complaint the scope and

 significance of the foreign accounts.

       11.    Despite GM’s diligence in investigating its claims, GM was previously

 unable to discover this evidence on the existence and use of foreign accounts,

 including because the Court stayed GM’s efforts to obtain banking information

 through formal discovery until after the Defendants’ Motion to Dismiss was

 resolved. Instead, GM, through counsel, needed to identify a reputable investigative

 firm that could reliably obtain this information, which took several months

 especially given COVID limitations.

       I declare under penalty of perjury that the foregoing is true and correct to the

 best of my knowledge, information, and belief.



  Dated: August 3, 2020                           /s/ Jeffrey L. Willian, P.C.
                                                  Jeffrey L. Willian, P.C.
